Case 4:21-cv-02155-YGR   Document 712-2   Filed 06/14/24   Page 1 of 21




             EXHIBIT 1
        to the Declaration of
         Whitty Somvichian


   (REDACTED VERSION OF
DOCUMENT SOUGHT TO BE FILED
        UNDER SEAL)
        Case 4:21-cv-02155-YGR           Document 712-2   Filed 06/14/24   Page 2 of 21




 1 Elizabeth C. Pritzker (Cal. Bar No. 146267)
   Jonathan K. Levine (Cal. Bar No. 220289)
 2 Bethany Caracuzzo (Cal. Bar No. 190687)
   Caroline Corbitt (Cal. Bar No. 305492)
 3
   PRITZKER LEVINE LLP
 4 1900 Powell Street, Suite 450
   Emeryville, CA 94608
 5 Tel.: (415) 692-0772
   Fax: (415) 366-6110
 6 ecp@pritzkerlevine.com

 7 jkl@pritzkerlevine.com
   bc@pritzkerlevine.com
 8 ccc@pritzkerlevine.com

 9 Interim Class Counsel

10 [Additional Counsel on Signature Page]

11

12
                           IN THE UNITED STATES DISTRICT COURT
13                          NORTHERN DISTRICT OF CALIFORNIA
                                    OAKLAND DIVISION
14

15   In re Google RTB Consumer Privacy            Case No. 4:21-cv-02155-YGR-VKD
     Litigation,
16                                                PLAINTIFFS’ REPLY IN SUPPORT OF
                                                  MOTION FOR CONTEMPT AND
17                                                SPOLIATION SANCTIONS RE NAMED
                                                  PLAINTIFF DATA
18   This document applies to: all actions.

19                                                Judge:     Hon. Virginia K. DeMarchi
                                                  Date:      June 18, 2024
20                                                Time:      10:00 a.m.
                                                  Courtroom: 2, Fifth Floor
21

22

23

24
                 UNREDACTED VERSION SUBMITTED CONDITIONALLY UNDER SEAL
25

26

27

28
            Case 4:21-cv-02155-YGR                     Document 712-2                 Filed 06/14/24              Page 3 of 21




 1                                                      TABLE OF CONTENTS
 2                                                                                                                                    Page

 3 I.        INTRODUCTION ...............................................................................................................1

 4 II.       ARGUMENT .......................................................................................................................2
 5           A.        Plaintiffs’ Motion Is Timely ....................................................................................2
 6           B.        Contempt Sanctions Against Google Are Warranted Under Rule 37(b)(2)(A) .......6
 7
             C.        Evidentiary Sanctions Against Google Are Warranted Under Rule 37(e) ..............8
 8
                       1.         Google’s conduct is sanctionable under Rule 37(e)(1). ...............................9
 9
                       2.         Google’s conduct is also sanctionable under Rule 37(e)(2). .....................10
10
     III.    CONCLUSION ..................................................................................................................13
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                                     -i-                         Case No. 4:21-CV-02155-YGR-VKD
     TABLE OF CONTENTS
             Case 4:21-cv-02155-YGR                      Document 712-2               Filed 06/14/24             Page 4 of 21




 1                                                     TABLE OF AUTHORITIES

 2                                                                                                                              Page(s)

 3 CASES

 4 Akiona v. United States,
      938 F.2d 158 (9th Cir. 1991).................................................................................................... 11
 5
   Clear-View Techs., Inc. v. Rasnick,
 6    2015 WL 2251005 (N.D. Cal. May 13, 2015) ....................................................................... 7, 9
 7
   Cottle-Banks v. Cox Commc’ns, Inc.,
 8   2013 WL 2244333 (S.D. Cal. May 21, 2013) ............................................................................ 5

 9 In re Dual-Deck Video Cassette Recorder Antitrust Litig.,
      10 F.3d 693 (9th Cir. 1993)........................................................................................................ 8
10
   Duke v. City Coll. of S.F.,
11    2021 WL 1164939 (N.D. Cal. Mar. 25, 2021) ........................................................................... 3
12 F.T.C. v. Affordable Media,

13    179 F.3d 1228 (9th Cir. 1999).................................................................................................... 8

14 Guifu Li v. A Perfect Day Franchise, Inc.,
     2011 WL 3895118 (N.D. Cal. Aug. 29, 2011)........................................................................... 8
15
   Harmon v. City of Santa Clara,
16   323 F.R.D. 617 (N.D. Cal. 2018) ............................................................................................... 8
17 Johnson v. Mammoth Recreations, Inc.,

18    975 F.2d 604 (9th Cir. 1992)...................................................................................................... 3

19 Larios v. Lunardi,
     442 F. Supp. 3d 1299 (E.D. Cal. 2020) .................................................................................. 3, 5
20
   McBride v. Moore,
21   2024 WL 1136429 (C.D. Cal. Feb. 23, 2024) ............................................................................ 5
22 In re Napster, Inc. Copyright Litig.,
      462 F. Supp. 2d 1060 (N.D. Cal. 2006) ..................................................................................... 7
23

24 Nat’l Ass’n of Radiation Survivors v. Turnage,
     115 F.R.D. 543 (N.D. Cal. 1987) ............................................................................................. 13
25
   Phoceene Sous-Marine, S.A. v. U.S. Phosmarine, Inc.,
26   682 F.2d 802 (9th Cir. 1982).................................................................................................... 13
27 Ramirez v. City of Gilroy,
     2018 WL 6241313 (N.D. Cal. Nov. 29, 2018)........................................................................... 3
28

                                                                      - ii -                    Case No. 4:21-CV-02155-YGR-VKD
      TABLE OF AUTHORITIES
            Case 4:21-cv-02155-YGR                        Document 712-2                 Filed 06/14/24              Page 5 of 21




 1 Zeleny v. Newsom,
      2020 WL 6585793 (N.D. Cal. Nov. 10, 2020)........................................................................... 3
 2
   RULES
 3
   Fed. R. Civ. P. 37 ................................................................................................................... passim
 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                                        - ii -                      Case No. 4:21-CV-02155-YGR-VKD
     TABLE OF AUTHORITIES
          Case 4:21-cv-02155-YGR           Document 712-2         Filed 06/14/24      Page 6 of 21




 1 I.       INTRODUCTION

 2          Defying two Court Orders, Google willfully failed to maintain and produce Biscotti IDs

 3 and                            , even after this Court’s 2023 Orders holding that Biscotti IDs and

 4                             were relevant and should be produced. Google concealed its failure to

 5 maintain Biscotti IDs and                                for 2023 until after the February 2, 2024

 6 deadline to file discovery related motions had passed, necessitating the filing of plaintiffs’ motion

 7 for contempt and sanctions. In defense of its misconduct, Google erroneously argues that (1) the

 8 motion is untimely, (2) it did not violate any “clear and definite” Court order, and (3) plaintiffs

 9 have not made the showing of prejudice and intent to deprive necessary for evidentiary sanctions

10 under Rule 37(e). But Google’s procedural arguments are meritless and its factual assertions are

11 grounded in a false and misleading narrative regarding                                      discovery

12 predicated on intentionally disingenuous assertions.

13          Plaintiffs’ motion is procedurally and substantively proper. Procedurally, although filed

14 after the February 2 cutoff for discovery-related motions, the motion is timely because it was

15 brought promptly after plaintiffs learned that the issue was ripe for briefing. Google did not

16 produce 2023 data until February 9, 2024, and did not confirm that no 2023

17       or Biscotti ID data exists for any of the requested time-periods (even one that fell within

18 Google’s “normal” retention period at the time it was requested) until February 28, 2024. Thus,

19 good cause exists for the Court to consider the motion.

20          Substantively, plaintiffs’ motion is well-supported by the record in this case, which shows

21 that Google has long been on notice of the relevance of                               and Biscotti ID

22 discovery, that its legal duty to preserve arose long before the 2023 discovery misconduct at issue,

23 and that both notice and the duty to preserve—as well as the duty to produce—were confirmed by

24 the Court’s 2023 Orders. It is clear that Google failed to preserve, produce, and comply with the

25 Court’s orders. And Google’s failings are not inconsequential. Rather, they are severely prejudicial

26 to plaintiffs. Plaintiffs’ motion sets forth the prejudice caused by Google’s misconduct, including

27 the import of the discovery at issue and how plaintiffs’ intended to use the data at trial. Under these

28 circumstances, evidentiary sanctions are warranted. Plaintiffs have narrowly tailored the relief
                                                   -1-                   Case No. 4:21-CV-02155-YGR-VKD
     PLAINTIFFS’ REPLY ISO MOT. FOR CONTEMPT AND SPOLIATION SANCTIONS
          Case 4:21-cv-02155-YGR           Document 712-2          Filed 06/14/24      Page 7 of 21




 1 requested to address only the 2023 timeframe during which Google’s failure to maintain and

 2 produce                             and Biscotti ID is clearly a willful violation of the Court’s orders.

 3          For this violation, on the grounds set forth herein, in plaintiffs’ opening brief and the Levine

 4 Declaration, and upon any further grounds the Court may determine or that plaintiffs assert at

 5 hearing, the Court should hold Google in contempt and evidentiary sanctions should be imposed

 6 such that Google will be prevented from making any arguments based on the lack of Biscotti IDs

 7 and joining key data in favor of summary judgment or at trial in this matter. At trial, the jury should

 8 also be instructed that Google spoliated evidence and that the jury should infer from that spoliation

 9 that the evidence would have been favorable to plaintiffs and harmful to Google.

10 II.      ARGUMENT

11          A.      Plaintiffs’ Motion Is Timely

12          Google argues that plaintiffs’ motion is untimely because it was not filed by the February

13 2, 2024 deadline for discovery motions. But Google well knows that this motion’s timing is the

14 direct result of its own delayed responses regarding production timing, delayed production of

15 named plaintiff data, and delayed confirmation that no 2023                                 and Biscotti

16 IDs (together, “Biscotti Data”) existed (despite the fact that plaintiffs had specifically selected time

17 periods that fell within Google’s normal retention periods). See Mot. at 10–11. Indeed, Google did

18 not produce 2023 data that should have included Biscotti Data until February 9, 2024, and did not

19 admit that it had spoliated 2023 Biscotti Data until February 28, 2024.1 See id. Thus, plaintiffs

20 could not have brought this motion before the February 2, 2024 discovery motion cut-off.

21 Consistent with Civil L.R. 7-8(c), plaintiffs brought this sanctions motion “as soon as practicable

22 after the filing party learns of the circumstances that it alleges make the motion appropriate . . .”,

23 on April 19, 2024 (within two and a half months of the February 2 deadline, not “nearly four

24 months” late, as Google claims in its motion). Opp. at 8–9.

25          To assess the enforceability of a discovery motion after the discovery cut-off, this Court

26
     1
27  In letter briefs filed on February 2, 2024, plaintiffs informed the Court that Google had not yet
   produced named plaintiff data for the agreed-upon 2023 time-periods and reserved their rights.
28 ECF 659-5 at 3, n.1.
                                                    -2-                   Case No. 4:21-CV-02155-YGR-VKD
     PLAINTIFFS’ REPLY ISO MOT. FOR CONTEMPT AND SPOLIATION SANCTIONS
          Case 4:21-cv-02155-YGR           Document 712-2         Filed 06/14/24      Page 8 of 21




 1 should consider whether a party has shown “good cause.” Civil L.R. 37-3. “Good cause” focuses

 2 on the “diligence of the party seeking the amendment” to the discovery schedule. Johnson v.

 3 Mammoth Recreations, Inc., 975 F.2d 604, 609 (9th Cir. 1992). Where, as here, a discovery-related

 4 motion cannot be filed by a discovery deadline due to the delay of the producing party, courts have

 5 considered such motions to be timely filed. See, e.g., Duke v. City Coll. of S.F., 2021 WL 1164939,

 6 at *1 (N.D. Cal. Mar. 25, 2021) (considering request for issue sanctions filed after the close of fact

 7 discovery due to late-produced document);2 Zeleny v. Newsom, 2020 WL 6585793, at *2 (N.D.

 8 Cal. Nov. 10, 2020) (allowing a motion filed after the discovery cut-off due to the delay of the

 9 producing party).

10          Google mischaracterizes Civil L.R. 37-3 as mandating rejection of discovery motions filed

11 after the discovery cut-off (Opp. at 8–9), but its own cited authority confirms the good cause

12 standard applies for evaluating the timeliness of Civil L.R. 37-3 motions. See Ramirez v. City of

13 Gilroy, 2018 WL 6241313, at *1 (N.D. Cal. Nov. 29, 2018) (DeMarchi, J.) (denying motion

14 because moving party “ha[s] not otherwise demonstrated good cause for modifying the case

15 schedule under Rule 16(b)(4) of the Federal Rules of Civil Procedure”). Similarly, rather than

16 setting forth a bright-line rule that motions filed after a fact discovery deadline must be rejected as

17 untimely, the Larios v. Lunardi court confirmed that it is “unreasonable delay [that] can render a

18 spoliation motion untimely,” and went on note that “[o]ther federal district courts in California

19 have allowed parties to raise spoliation claims after the close of discovery” and “as soon as

20 reasonably possible after [uncovering] the facts that underlie the motion.” 442 F. Supp. 3d 1299,

21 1305–06 (E.D. Cal. 2020) (citations omitted). Nor, as discussed above, does Duke help Google, as

22 it both acknowledges the good cause standard, and considers the moving party’s request for

23 sanctions, which as here, was filed after the fact discovery cut-off due to the producing party’s late

24

25
     Google asserts it has located no authority in which a court in this district has “ever” permitted a
     2
26
   spoliation motion after the Rule 37-3 deadline absent a prior order altering the case schedule. Opp.
27 at 9, n.5 (emphasis in original). But this assertion is belied by its own citation to Duke, a case in
   which the court not only considered a post-deadline request for sanctions, but also invited further
28 briefing on sanctions.
                                                   -3-                   Case No. 4:21-CV-02155-YGR-VKD
     PLAINTIFFS’ REPLY ISO MOT. FOR CONTEMPT AND SPOLIATION SANCTIONS
          Case 4:21-cv-02155-YGR          Document 712-2         Filed 06/14/24        Page 9 of 21




 1 production. 2021 WL 1164939, at *1 (noting “[t]he Court finds that a sanction may be appropriate

 2 but seeks further briefing on this issue”).

 3          Google also claims that plaintiffs’ motion is untimely because plaintiffs purportedly failed

 4 to pursue this discovery for “almost a year after first learn[ing that] Google was not preserving the

 5                           .” Opp. at 8. This misrepresents the record. Plaintiffs persistently sought

 6 production of the Biscotti Data, including identifying time-periods that fell within Google’s

 7       look-back periods, and specifically informing Google that they expected Google to produce

 8 joining keys when it produced the 2023 data. Levine Decl., ¶¶ 12, 15–16, 18, 20. Google’s claims

 9 to the contrary rely on cherry-picked statements that blatantly distort the record. For example,

10 Google selectively quotes the May 16, 2023 hearing transcript to give the impression that it

11 informed plaintiffs that it was not going to be preserving the                                     on a

12 prospective basis, and that plaintiffs subsequently “sat on their hands.” Opp. at 9–10. In truth, at

13 that hearing, Google informed plaintiffs and the Court for the first time that it had not preserved

14                            for any of the time periods plaintiffs had asked for up to that point, the

15 latest in time being October 2022. See May 16, 2023 Hr’g Tr. at 34:18–35:1. Google did not state

16 that it would fail to preserve                            going forward. Google also points to the

17 October 2023 testimony of 30(b)(6) witness Glenn Berntson as putting plaintiffs on notice of

18 Google’s short retention period. Opp. at 10. But, again, this misleads. While Mr. Berntson provided

19 corporate testimony confirming Google’s standard             retention period for

20       , he also testified “I’m talking about normal operations. You want to preserve something, all

21 bets are off, with the limitation you still have the look-back window on the current data that’s

22 available.” ECF 696-6, Levine Decl., Ex. A at 238:16–23.

23          Heeding the information provided by Google and its counsel regarding its failure to

24 preserve                              prior to May 16, 2023, on November 17, 2023, plaintiffs

25 identified four time periods in 2023, three of which fell within Google’s            look-back period

26 from the April and May 2023 Orders, including one week (September 30–October 7) that was well

27 within the normal retention period at the time of plaintiffs’ request. Based on Google’s

28 representations regarding the normal retention period and the look-back period, and given the
                                                  -4-                   Case No. 4:21-CV-02155-YGR-VKD
     PLAINTIFFS’ REPLY ISO MOT. FOR CONTEMPT AND SPOLIATION SANCTIONS
         Case 4:21-cv-02155-YGR           Document 712-2        Filed 06/14/24      Page 10 of 21




 1 Court’s April 14 and May 16 Orders, plaintiffs had every reason to expect that Google would

 2 produce                           and Biscotti ID data for most of the 2023 time periods. But Google

 3 did not begin preserving joinability data pursuant to the April 14 and May 16 Orders. And rather

 4 than promptly responding to plaintiffs’ November 17 request and timely collecting data for

 5 production, Google ran out the clock on its retention period, intentionally allowing the September

 6 30–October 7 Biscotti Data to be destroyed.

 7          Google has an obligation to preserve relevant evidence, independent of whether plaintiffs

 8 remind it to do so, and whether or not there is an express order of the Court. In its opposition,

 9 Google turns this obligation on its head, asserting that because it disclosed its “normal” retention

10 policy in May 2023, and then in January 2024 said it had not suspended that retention policy,

11 plaintiffs’ motion is untimely. Again, Google’s argument fails. Google cites McBride v. Moore in

12 support of this argument, claiming that the McBride court denied a spoliation motion because the

13 moving party “unreasonably” waited over a month to move. Opp. at 10. But Google misrepresents

14 McBride. There, the court declined to award spoliation sanctions because the moving party failed

15 to show that the evidence was deleted after a preservation obligation arose. 2024 WL 1136429, at

16 *2 (C.D. Cal. Feb. 23, 2024). Here Google’s preservation obligation could not have been more

17 clear well in advance of the May 16, 2023 hearing. The “unreasonable” one-month delay Google

18 relies on arose in connection with delayed production of metadata, where the moving party

19 received an inadequate production prior to the close of fact discovery but failed to move (unlike

20 here, where Google did not produce until after the deadline for discovery-related motions, and then

21 later revealed it had destroyed the                           ). Id. at *3. Google’s other authorities

22 are similarly unavailing. In both Larios, 442 F. Supp. 3d at 1306, and Cottle-Banks v. Cox

23 Commc’ns, Inc., 2013 WL 2244333, at *16 (S.D. Cal. May 21, 2013), the moving party knew for

24 nine months that evidence had been destroyed but waited to move. Here, consistent with the

25 Court’s guidance, plaintiffs do not seek sanctions for Google’s May 16, 2023 disclosure that it had

26 not preserved Biscotti Data for the time periods produced prior to that date (all of which pre-dated

27 October 2022). Rather plaintiffs seek sanctions only for Google’s conduct after the April and May

28
                                                  -5-                   Case No. 4:21-CV-02155-YGR-VKD
     PLAINTIFFS’ REPLY ISO MOT. FOR CONTEMPT AND SPOLIATION SANCTIONS
         Case 4:21-cv-02155-YGR           Document 712-2        Filed 06/14/24      Page 11 of 21




 1 2023 Orders, when Google was undeniably on notice to preserve and had a clear obligation to

 2 produce, and for which time-periods Google did not produce data until February 9, 2024.

 3          Accordingly, plaintiffs’ motion is timely.

 4          B.      Contempt Sanctions Against Google Are Warranted Under Rule 37(b)(2)(A)

 5          Rather than defeating plaintiffs’ motion for contempt sanctions, Google’s opposition

 6 makes clear that contempt sanctions against Google are warranted, because Google has willfully

 7 violated specific orders, namely the April 14 Order compelling production of GAIA IDs, Google

 8 User IDs (Biscotti IDs), and joining key data (which necessarily includes the

 9       ) for all past and future productions of named plaintiff data (ECF 487 at 7), and the related

10 May 16 Order, which required Google to investigate whether Biscotti IDs could be produced

11 together with GAIA IDs for all named plaintiff data, and if not, to work with plaintiffs to determine

12 whether “any reasonable alternatives exist for the production of the same or similar information”

13 (ECF 510 at 2–3).

14          Google makes much of the fact that the May 16 Order accepted Google’s representation

15 that it “does not have any ‘joining keys’ to produce” for named plaintiff data productions made

16 prior to May 2023 (ECF 510 at 3), claiming that because the May 16 Order did not expressly

17 instruct Google to suspend destruction of                                or to produce unencrypted

18 Biscotti IDs in future productions, it had no clear obligation to do so. Opp. at 11. This is nonsense.

19 As Google acknowledges, both the April 14 and May 16 Orders remain in effect. In accepting

20 Google’s representation that it did not have joining keys to produce, the May 16 Order clarified

21 the April 14 Order’s requirement that Google include GAIA IDs, Google User IDs (Biscotti IDs)

22 and joining key data for all past and future productions, and relieved Google of its obligation to

23 produce joining key data (and thus, unencrypted Biscotti IDs) for past productions, not for future

24 productions. ECF 510 at 3; accord May 16, 2023 Hr’g Tr. 67:18–68:18 (regarding joining keys,

25 “[i]f they exist, you can produce them … If the Google user ID doesn’t exist, you can’t produce it.

26 So you haven’t violated my order”). In keeping with this discussion and the May 16 Order,

27 plaintiffs agreed with Google that it would produce the encrypted Biscotti IDs for prior and

28 forthcoming productions and Google represented that it would complete production of this data by
                                                   -6-                   Case No. 4:21-CV-02155-YGR-VKD
     PLAINTIFFS’ REPLY ISO MOT. FOR CONTEMPT AND SPOLIATION SANCTIONS
         Case 4:21-cv-02155-YGR           Document 712-2         Filed 06/14/24      Page 12 of 21




 1 June 2, 2023. ECF 528-2. Accordingly, plaintiffs do not seek sanctions for Google’s failure to

 2 preserve Biscotti Data for pre-2023 data. Rather, it is Google’s willful failure to maintain and

 3 produce Biscotti IDs and                              for 2023 that warrants contempt sanctions.

 4          As is clear in the May 16 Order, while the Court was aware of and accepted that Google

 5 did not have joining key data to produce for pre-2023 data, it still ordered Google to investigate

 6 the production of Biscotti IDs alongside GAIA IDs. Nor did the court rescind the April 14 Order’s

 7 requirement that Google include GAIA IDs, Google User IDs (Biscotti IDs), and joining key data

 8 in future productions. Contrary to Google’s claim that only an express order of the Court could

 9 trigger an obligation for Google to “adjust its preservation practices” with regard to

10                   (Opp. at 12), Google’s duty to preserve information began when plaintiffs filed

11 their action—if not before. See In re Napster, Inc. Copyright Litig., 462 F. Supp. 2d 1060, 1067–

12 68 (N.D. Cal. 2006) (duty to preserve runs from date party should have known evidence might be

13 relevant to future litigation). And whether or not plaintiffs expressly requested that Google

14 preserve joining key data, or whether or not the Court ordered Google to alter its retention

15 practices, the absence of such a request or order “does not vitiate the independent obligation of an

16 adverse party to preserve such information.” Clear-View Techs., Inc. v. Rasnick, 2015 WL

17 2251005, at *1 (N.D. Cal. May 13, 2015). At latest, that obligation arose with the April 14 and

18 May 16 Orders—yet Google did nothing to preserve the Biscotti Data after those orders.

19          Google states in its opposition that it has “always been clear that its objection to producing

20 the                             is based not on the lack of these records;” rather, it contests the

21 relevance and discoverability of the keys and Biscotti IDs decrypted by the keys. Opp. at 16. In

22 support, Google cites to its January 2024 letter to plaintiffs, which it sent only after Google had

23 run the clock on its normal retention period, thus ensuring there would be no records to produce.

24 Id. Rather than insulating Google from contempt sanctions, Google’s bold statement that it

25 intentionally destroyed data based solely on its own view of relevance and discoverability—and

26 in defiance of the Court’s instructions—confirms that Google’s failure to maintain and produce

27 Biscotti IDs and                              for 2023 was willful. The proper way for Google to

28 oppose an order to produce data would have been to move for reconsideration or clarification of
                                                   -7-                   Case No. 4:21-CV-02155-YGR-VKD
     PLAINTIFFS’ REPLY ISO MOT. FOR CONTEMPT AND SPOLIATION SANCTIONS
         Case 4:21-cv-02155-YGR           Document 712-2        Filed 06/14/24      Page 13 of 21




 1 the order, as it has done before in this case (see, e.g., ECF 408), or move for a protective order, as

 2 it has done in other cases (see, e.g., Calhoun, et al. v. Google, LLC, No. 20-cv-05146-YGR-SVK

 3 (N.D. Cal.), ECF 109 (moving for protective order to relieve it from preservation obligations and

 4 retention periods)). Google did neither, opting instead to engage in “self-help” destruction of

 5 evidence. See Calhoun, No. 20-cv-05146-YGR-SVK (N.D. Cal.), ECFs 558, 685 (sanctioning

 6 Google for engaging in “self-help” conduct of withholding discovery in contravention of court

 7 order and based on its own determination of relevance). As set forth herein, and in plaintiffs’

 8 opening brief and the Levine Declaration, contempt sanctions are warranted because Google

 9 willfully violated (and concealed that violation (Mot. at 15–16)) the Court’s specific and definite

10 orders with regard to the maintenance and production of                             and Biscotti IDs.

11 See Harmon v. City of Santa Clara, 323 F.R.D. 617, 626 (N.D. Cal. 2018) (citing F.T.C. v.

12 Affordable Media, 179 F.3d 1228, 1239 (9th Cir. 1999)); see also In re Dual-Deck Video Cassette

13 Recorder Antitrust Litig., 10 F.3d 693, 695 (9th Cir. 1993) (noting “contempt need not be willful,

14 and there is no good faith exception to the requirement of obedience to a court order”) (internal

15 quotation omitted).

16          C.      Evidentiary Sanctions Against Google Are Warranted Under Rule 37(e)

17          Plaintiffs moved for evidentiary sanctions against Google under Rule 37(e) because the

18 record shows both that plaintiffs are prejudiced by Google’s spoliation of the 2023 Biscotti Data,

19 and that Google acted with intent to deprive plaintiffs of relevant evidence. Mot. at 16. Where, as

20 here, relevant evidence necessary to prove a moving party’s case has been spoliated, monetary

21 sanctions are inadequate, and evidentiary sanctions are appropriate. See Guifu Li v. A Perfect Day

22 Franchise, Inc., 2011 WL 3895118, at *3 (N.D. Cal. Aug. 29, 2011) (imposing evidentiary

23 sanctions to remedy prejudice of “information withheld from Plaintiffs [that] could very well bear

24 on whether or not Plaintiffs are able to establish commonality of issues across the putative class”).

25 With this showing, evidentiary sanctions under Fed. R. Civ. P. 37(e) should be imposed in the

26 form of an order preventing Google from making any arguments about plaintiffs’ inability to link

27 RTB bid request data with Google account information for signed-out Google account holders in

28 any summary judgment motion or at trial in this matter. At trial, the jury also should be instructed
                                                  -8-                    Case No. 4:21-CV-02155-YGR-VKD
     PLAINTIFFS’ REPLY ISO MOT. FOR CONTEMPT AND SPOLIATION SANCTIONS
         Case 4:21-cv-02155-YGR            Document 712-2         Filed 06/14/24      Page 14 of 21




 1 that Google destroyed relevant joining key data and failed to produce Biscotti IDs in violation of

 2 Court orders and failed to disclose this in a timely manner, and that the jury may infer from

 3 Google’s conduct that the evidence that Google failed to maintain and produce was not helpful to

 4 Google and would have been favorable to plaintiffs.

 5                  1.      Google’s conduct is sanctionable under Rule 37(e)(1).

 6          In their opening brief, plaintiffs explain in detail why the                               and

 7 Biscotti IDs are relevant, and their production necessary for plaintiffs to prove their case. Mot. at

 8 5. Biscotti Data are the best way for plaintiffs to show that bid request information is personal

 9 information under Google’s privacy policy for both signed-in and signed-out account holders. Id.

10 at 4–5. This showing is sufficient to demonstrate that plaintiffs are prejudiced by Google’s

11 spoliation of 2023 Biscotti Data. See Clear-View Techs., 2015 WL 2251005, at *7–8 (evidentiary

12 and monetary sanctions warranted given defendants’ protracted and needless delays that frustrated

13 discovery process). But plaintiffs do more than simply demonstrate prejudice. They set forth the

14 extensive history of their efforts to obtain production of this (and related

15         ) data over several years, all while Google resisted production and kept to itself its knowledge

16 that it was not retaining the Biscotti Data. Mot. at 6–12.

17          In opposition, Google simply ignores this factual record, and claims that plaintiffs should

18 have pursued discovery regarding Google’s joining keys generally. But when plaintiffs did attempt

19 to obtain such discovery, Google resisted. Google should not be permitted to leverage its refusal

20 to cooperate in discovery, then fault plaintiffs for failing to obtain the discovery it resisted. Google

21 also claims that plaintiffs are not prejudiced because plaintiffs have put forth discovery and

22 testimony from Google in support of their argument that Google has multiple ways to

23                                                  . Opp. at 14–15, citing Mot. at 5, 9–10. This doesn’t

24 establish that plaintiffs are not prejudiced by Google’s failure to maintain and produce Biscotti

25 Data. To the contrary, it shows how critical the data demonstrating that Google does

26                                                            is, supporting that plaintiffs are prejudiced

27 by Google’s spoliation. Sanctions under Rule 37(e)(1) are therefore warranted.

28
                                                    -9-                   Case No. 4:21-CV-02155-YGR-VKD
     PLAINTIFFS’ REPLY ISO MOT. FOR CONTEMPT AND SPOLIATION SANCTIONS
         Case 4:21-cv-02155-YGR            Document 712-2           Filed 06/14/24     Page 15 of 21




 1                  2.      Google’s conduct is also sanctionable under Rule 37(e)(2).

 2          Google’s conduct is also sanctionable under Rule 37(e)(2). The record reflects that Google

 3 repeatedly and deliberately chose not to preserve relevant evidence, evidencing Google’s intent to

 4 deprive plaintiffs of that evidence. In opposition, Google claims that because in May 2023 it

 5 disclosed that it had not preserved data to that point, it was clear to plaintiffs and the Court that it

 6 would not be preserving data going forward. Not so, as set forth in Section B, supra at 6–8. In any

 7 event, plaintiffs do not seek sanctions for Google’s failure to implement preservation prior to the

 8 April 14 and May 16 Orders, but for its failure to preserve 2023 data.

 9          Google’s preservation obligation with regard to the 2023 data was clearly established when

10 the issue of production of                                and Biscotti IDs was brought to this Court for

11 resolution, and the Court ordered Google to produce them, as well as six additional weeks of data

12 of plaintiffs’ choosing. ECFs 484 at 2; 510 at 3. If, after the Court’s April 14 and May 16 Orders,

13 Google considered the production of                                  and Biscotti IDs to be outside the

14 proper scope of discovery (Opp. at 2, 16), it could have moved for a protective order, or sought

15 clarification. Instead, it unilaterally determined the evidence to be “irrelevant” (despite Court

16 orders to the contrary), and ensured that there would be no data to produce.

17          Google also argues that because its policy of “routine purging” predated this action and

18 serves purposes unrelated to litigation, it is entitled to a finding that by continuing to routinely

19 purge rather than preserve, it did not act to conceal information from plaintiffs in this litigation.

20 Opp. at 15. This argument is unsupported by fact and contrary to the law. Factually, Google relies

21 solely on the declaration of a Director of Product Management on the Privacy and Regulations

22 Infrastructure team within Ads at Google LLC, Miju Han, who describes Google’s “routine

23 purging” and the business reasons for that purging. But this declaration does not and cannot explain

24 how the existence of routine purging practices relieves Google of its duty to preserve and produce

25 Biscotti Data in this action. Id. Indeed, it is precisely this sort of practice that parties are required

26 to suspend to comply with discovery obligations. If, as Google implies, its interest in maintaining

27 the “routine purging practice” was so strong as to mitigate against the implementation of a

28 litigation hold, Google should have disclosed this to plaintiffs in advance and then timely moved
                                                    - 10 -                  Case No. 4:21-CV-02155-YGR-VKD
     PLAINTIFFS’ REPLY ISO MOT. FOR CONTEMPT AND SPOLIATION SANCTIONS
         Case 4:21-cv-02155-YGR            Document 712-2         Filed 06/14/24       Page 16 of 21




 1 for a protective order if the parties could not resolve the issue through the meet and confer process.

 2 Google did neither.

 3          On the law, Google’s reliance on Akiona v. United States, 938 F.2d 158, 161 (9th Cir. 1991)

 4 is not only unavailing, but again, misrepresents the authority. Akiona involves an action arising

 5 under Hawaiian tort law against the United States, stemming from a 1985 incident in which persons

 6 were injured when a civilian threw a hand grenade in a parking lot in Honolulu. Investigation

 7 showed (and the United States stipulated) that the grenade was manufactured for the United States

 8 government and was part of lots shipped to locations around the world, including Japan, Germany,

 9 and Hawaii, between 1967 and 1969. Id. at 159. The Akiona plaintiffs argued that the government

10 had a duty to keep grenades out of unauthorized hands and protect the public from unauthorized

11 uses, and put forth the government’s destruction of records regarding the grenade used in the attack

12 as grounds for an adverse evidentiary inference. Id. at 159–60. As relevant here, the government

13 had a policy of destroying records pertaining to grenades two years after the grenades were

14 disposed of, and any such records had long been destroyed by the time of the 1985 incident.

15          The Ninth Circuit held that the district court erred in relying on the destruction of such

16 records for an adverse evidentiary inference, because (a) the record destruction was implemented

17 as part of a routine practice unrelated to the litigation, and (b) the destruction pre-dated the incident

18 by decades. Id. at 161. Nowhere does the Akiona court hold—let alone imply—that the mere

19 presence of a routine policy unrelated to litigation entitles a party to an inference that it did not act

20 with intent to conceal. The facts here are also clearly distinguishable. Unlike the United States,

21 Google did not destroy Biscotti Data years before litigation commenced, pursuant to a routine

22 practice. Rather, contrary to its duty to preserve (which arose when litigation commenced), the

23 assurances Google provided plaintiffs and the Court that it had implemented preservation measures

24 for relevant data, and the directives of the April 14 and May 16 Orders, Google continuously

25 destroyed relevant evidence during the course of the litigation. Under these facts, Google is not

26 entitled to a presumption that it did not act with the intent to deprive plaintiffs of the 2023 Biscotti

27 Data when it permitted its destruction.

28
                                                    - 11 -                 Case No. 4:21-CV-02155-YGR-VKD
     PLAINTIFFS’ REPLY ISO MOT. FOR CONTEMPT AND SPOLIATION SANCTIONS
         Case 4:21-cv-02155-YGR           Document 712-2        Filed 06/14/24      Page 17 of 21




 1          If any doubts remain that it was Google’s clear intent to deprive plaintiffs of relevant

 2 evidence through its spoliation of                           and Biscotti IDs in the wake of the April

 3 14 and May 16 Orders, plaintiffs’ November 17, 2023 request—and Google’s response to it—

 4 eliminates them. Plaintiffs specifically requested production of three weeks of data that should

 5 have fallen within the rolling         look-back window, had Google implemented preservation in

 6 April or May 2023 (March 18–25, June 2–9, and September 30–October 7). As for the September

 7 30–October 7 time-period, Google should have had that data to produce regardless of its failure

 8 to alter its standard retention policy, as the requested data fell well within the          retention

 9 period. Google doesn’t dispute this (as it cannot), but rather than owning up to its failure to

10 promptly collect data for production, tries to shift blame to plaintiffs by claiming that plaintiffs

11 made their request too close to the “winter holidays.” Opp. at 16. This argument is indefensible.

12 Google, probably the world’s largest and most sophisticated data collection company, and a

13 frequent party to litigation, knows how to preserve evidence and collect data when it wants to. Nor

14 does Google offer any support for its facially absurd argument that it was unable to collect data

15 over a nearly two-month period because of the “winter holidays.”3 Google did not respond to

16 plaintiffs’ November 17 request for 55 days—on January 11, 2024—and then only to delay and

17 obfuscate, feigning confusion over plaintiffs’ request while also stating that it would not produce

18                           . This response came, of course, only after the normal retention period ran

19 on January 5. Google did not disclose on January 11th that it could not produce the Biscotti Data

20 because it had permitted its destruction; rather, it waited until after the close of fact discovery to

21 confirm that fact. Google’s concealment and delay also supports a finding that Google willfully

22 deprived plaintiffs of the 2023 Biscotti Data.

23          When plaintiffs asked Google for clarification—whether joining keys for 2023 existed but

24 Google was refusing to produce them (as Google’s January 11 letter suggested) or whether the

25

26
     During this amorphous “winter holiday” when Google and its counsel were supposedly unable
     3

27 to issue a simple document retention instruction for a well-defined set of data, Google and its
   counsel were busy briefing Daubert motions in this case and working through a number of
28 discovery issues as the discovery cut-off approached.
                                                    - 12 -               Case No. 4:21-CV-02155-YGR-VKD
     PLAINTIFFS’ REPLY ISO MOT. FOR CONTEMPT AND SPOLIATION SANCTIONS
          Case 4:21-cv-02155-YGR          Document 712-2         Filed 06/14/24       Page 18 of 21




 1 joining keys no longer existed for any of the 2023 time-periods—Google again delayed for six

 2 weeks before finally admitting that the keys had been destroyed. Mot. at 11, citing Levine Decl.,

 3 ¶¶ 18–19. These facts establish Google’s intent under Rule 37(e)(2) and support the imposition of

 4 evidentiary sanctions under Rule 37(e)(2). See, e.g., Phoceene Sous-Marine, S.A. v. U.S.

 5 Phosmarine, Inc., 682 F.2d 802, 806 (9th Cir. 1982); Nat’l Ass’n of Radiation Survivors v.

 6 Turnage, 115 F.R.D. 543, 557 (N.D. Cal. 1987) (“Where one party wrongfully denies another the

 7 evidence necessary to establish a fact in dispute, the court must draw the strongest allowable

 8 inferences in favor of the aggrieved party.”).

 9 III.     CONCLUSION

10          For the reasons set forth herein, the Court should hold Google in contempt under Rule

11 37(b)(2)(A) for its knowing and willful violation of the Court’s April 14 and May 16 Orders and

12 impose evidentiary sanctions under Rule 37(e) for Google’s knowing and willful failure to

13 maintain and produce Biscotti IDs and                                in 2023 after they were ordered to

14 be produced by the Court and requested by plaintiffs. Google should be prevented from making

15 any arguments based on the lack of Biscotti IDs and joining key data in favor of summary judgment

16 or at trial in this matter. At trial, the jury should also be instructed that Google destroyed relevant

17 joining key data and failed to produce Biscotti IDs in violation of Court orders and failed to

18 disclose this in a timely manner, and that the jury may infer from Google’s conduct that the

19 evidence that Google failed to maintain and produce was not helpful to Google and would have

20 been favorable to plaintiffs.

21

22 DATED: May 31, 2024                                  Respectfully submitted,

23
                                                        PRITZKER LEVINE LLP
24
                                                        By: /s/ Jonathan K. Levine
25                                                      Elizabeth C. Pritzker (Cal. Bar No. 146267)
                                                        Jonathan K. Levine (Cal. Bar No. 220289)
26                                                      Bethany Caracuzzo (Cal. Bar No. 190687)
27                                                      Caroline Corbitt (Cal. Bar No. 305492)
                                                        1900 Powell Street, Ste. 450
28                                                      Oakland, CA 94602

                                                    - 13 -                Case No. 4:21-CV-02155-YGR-VKD
     PLAINTIFFS’ REPLY ISO MOT. FOR CONTEMPT AND SPOLIATION SANCTIONS
         Case 4:21-cv-02155-YGR           Document 712-2        Filed 06/14/24    Page 19 of 21




 1                                                    Tel.: (415) 692-0772
                                                      Fax: (415) 366-6110
 2                                                    ecp@pritzkerlevine.com
                                                      jkl@pritzkerlevine.com
 3
                                                      bc@pritzkerlevine.com
 4                                                    ccc@pritzkerlevine.com

 5                                                    Interim Class Counsel
 6                                                    BLEICHMAR FONTI & AULD LLP
 7
                                                      By: /s/ Anne K. Davis
 8                                                    Lesley E. Weaver (Cal. Bar No. 191305)
                                                      Anne K. Davis (Cal. Bar No. 267909)
 9                                                    Joshua D. Samra (Cal. Bar No. 313050)
                                                      1330 Broadway, Suite 630
10                                                    Oakland, CA 94612
11                                                    Tel.: (415) 445-4003
                                                      Fax: (415) 445-4020
12                                                    lweaver@bfalaw.com
                                                      adavis@bfalaw.com
13                                                    jsamra@bfalaw.com
14                                                    SIMONS HANLY CONROY LLC
15                                                    Jason ‘Jay’ Barnes (admitted pro hac vice)
                                                      An Truong (admitted pro hac vice)
16                                                    112 Madison Avenue, 7th Floor
                                                      New York, NY 10016
17                                                    Tel.: (212) 784-6400
                                                      Fax: (212) 213-5949
18                                                    jaybarnes@simmonsfirm.com
                                                      atruong@simmonsfirm.com
19

20                                                    DICELLO LEVITT LLC
                                                      David A. Straite (admitted pro hac vice)
21                                                    485 Lexington Avenue, Suite 1001
                                                      Tel.: (212) 784-6400
22                                                    Fax: (212) 213-5949
23                                                    New York, NY 10017
                                                      dstraite@dicellolevitt.com
24
                                                      COTCHETT PITRE & MCCARTHY, LLP
25                                                    Nancy E. Nishimura (Cal. Bar No. 152621)
                                                      Brian Danitz (Cal. Bar No. 247403)
26                                                    Karin B. Swope (admitted pro hac vice)
27                                                    840 Malcolm Road
                                                      Burlingame, CA 94010
28                                                    Tel.: (650) 697-6000

                                                  - 14 -                Case No. 4:21-CV-02155-YGR-VKD
     PLAINTIFFS’ REPLY ISO MOT. FOR CONTEMPT AND SPOLIATION SANCTIONS
         Case 4:21-cv-02155-YGR           Document 712-2        Filed 06/14/24    Page 20 of 21




 1                                                    nnishimura@cpmlegal.com
                                                      bdanitz@cpmlegal.com
 2                                                    kswope@cpmlegal.com
 3
                                                      BOTTINI & BOTTINI INC.
 4                                                    Frances A. Bottini, Jr. (Cal. Bar No. 175783)
                                                      7817 Ivanhoe Ave., Ste. 102
 5                                                    La Jolla, CA 92037
                                                      Tel.: (848) 914-2001
 6                                                    fbottini@bottinilaw.com
 7
                                                      Plaintiffs’ Executive Committee
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                  - 15 -                Case No. 4:21-CV-02155-YGR-VKD
     PLAINTIFFS’ REPLY ISO MOT. FOR CONTEMPT AND SPOLIATION SANCTIONS
         Case 4:21-cv-02155-YGR           Document 712-2         Filed 06/14/24      Page 21 of 21




 1                ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)

 2          I, Anne K. Davis, attest that concurrence in the filing of this document has been obtained

 3 from the other signatories. I declare under penalty of perjury that the foregoing is true and correct.

 4          Executed this 31st day of May, 2024, at Pacifica, California.

 5                                                          /s/ Anne K. Davis
                                                            Anne K. Davis
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                   - 16 -                Case No. 4:21-CV-02155-YGR-VKD
     PLAINTIFFS’ REPLY ISO MOT. FOR CONTEMPT AND SPOLIATION SANCTIONS
